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ATTORNEYS FOR PLAINTIFF
SOCIAL POSITIONING INPUT SYSTEMS, LLC

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  SOCIAL POSITIONING INPUT SYSTEMS,
  LLC,
                                                           Case No. 23-cv-1488 (ES)(AME)
                 Plaintiff,
                                                           JOINT STIPULATION
                v.                                         TO STAY ALL PENDING
                                                           MOTIONS, ACTIONS AND
  PERVASIVE GROUP, INC.,                                   DEADLINES

                 Defendants.


       Plaintiff Social Positioning Input Systems, LLC and Defendant Pervasive Group, Inc.

(collectively “the Parties”) are currently in settlement discussions, and thus respectfully request

that the Court stay all pending motions, actions and deadlines for thirty (30) days, up to and

including June 21, 2023, while the Parties negotiate a resolution of this lawsuit, including the

submission of a Motion to Dismiss. The requested stay is not for delay, but only to allow for an

orderly resolution of this lawsuit.



Dated: May 22, 2023                            Respectfully Submitted,
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